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1                                           INTERROGATORIES
2           1.      For each year from 2013 to the present, state the number of unauthorized
                    SIM swaps reported to AT&T by its customers.
3
            RESPONSE: AT&T objects to this Interrogatory as overly broad as to time period. AT&T’s
4
     response will be limited to information from the time period of January 1, 2018, to the present.
5
     AT&T further objects that the phrase “unauthorized SIM swaps” is vague and ambiguous as to
6
     whose authorization is at issue or what constitutes authorization. AT&T will construe this phrase to
7
     mean SIM swaps that were performed in connection with the telephone numbers of AT&T
8
     customers without being authorized by those customers. AT&T objects to this Interrogatory
9
     to the extent it seeks information not within AT&T’s possession, custody, or control or not
10
     ascertainable by any reasonable method, including which SIM swaps were authorized by an AT&T
11
     customer. AT&T objects to this Interrogatory to the extent it seeks information regarding the
12
     claims and activities of other AT&T customers, containing the protected CPNI of other AT&T
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     customers, and/or concerning incidents or occurrences that have no relevance to or bearing upon the
14
     claims or defenses in this case. Because Ross has alleged that AT&T violated its duties to him and
15
     his claims will rise or fall based on the evidence concerning his own interactions with AT&T,
16
     information regarding SIM swaps experienced by other customers is not relevant to any issue in
17
     this case, is not proportional to the needs of the case, and the burden of identifying, collecting, and
18
     producing such information would far outweigh any likely benefit of the disclosure of such
19
     information in this matter. AT&T further objects to the extent that the requested information is
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     protected against disclosure by applicable federal and state law and authorities, including by not
21
     limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act,
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     18 U.S.C. § 2707, and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et
23
     seq. AT&T further objects that the Interrogatory seeks materials protected by the privacy right of
24
     third party customers. AT&T further objects that the Interrogatory seeks materials protected by
25
     attorney-client and/or attorney work product privileges. AT&T’s investigation into the matters at
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     issue in this case and this Interrogatory is continuing. AT&T reserves the right to supplement, correct,
27
     or update this or any response at a later date. Based on the foregoing General and Specific
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1    Objections, AT&T will meet and confer over whether there is an acceptable scope to this
2    Interrogatory.
3
           6.     State the total dollar amount paid by AT&T to resolve claims arising out of
4                 unauthorized SIM swaps
5           RESPONSE: AT&T objects to this Interrogatory as overly broad, unduly burdensome, and
6    not proportional to the needs of this case because it is unlimited as to time. AT&T’s response will
7    therefore be limited to information from the time period of January 1, 2018 to the present. AT&T
8    also objects that the Interrogatory is overly broad, unduly burdensome, and not proportional to the
9    needs of this case to the extent it seeks information not relevant to the incidents at issue. For
10   example, this Interrogatory calls for information regarding any payments made by AT&T to other
11   AT&T subscribers based on incidents or occurrences that involve entirely different facts and
12   circumstances than any SIM swap at issue in this case. Such information has no relevance to or
13   bearing upon the claims or defenses in this case. Because Ross has alleged that AT&T violated its
14   duties to him and his claims will rise or fall based on the evidence concerning his own interactions
15   with AT&T, information regarding SIM swaps experienced by other customers is not relevant to
16   any issue in this case, is not proportional to the needs of the case, and the burden of identifying,
17   collecting, and producing such information would far outweigh any likely benefit of the disclosure
18   of such information in this matter. Moreover, information pertaining to other subscribers may
19   contain information that is protected against disclosure by applicable federal and state law and
20   authorities, including by not limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored
21   Communications Act, 18 U.S.C. § 2707, and the Electronic Communications Privacy Act of 1986,
22   18 U.S.C. §§ 2510 et seq. AT&T further objects that any settlements entered by AT&T, to the extent
23   they exist, may include confidentiality provisions that preclude disclosure of any information
24   regarding the settlement, including its amount. AT&T further objects that the Interrogatory seeks
25   materials protected by the privacy rights of third party subscribers. AT&T further objects that the
26   phrase “unauthorized SIM swaps” is vague and ambiguous as to whose authorization is at issue or
27   what constitutes authorization. AT&T will construe this phrase to mean SIM swaps that were
28   performed in connection with the telephone numbers of AT&T customers without being authorized
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1     by those customers. AT&T’s investigation into the matters at issue in this case and this Interrogatory
2     is continuing. AT&T reserves the right to supplement, correct, or update this or any response at a
3     later date.
4             For the reasons set forth in the foregoing General and Specific Objections, AT&T will not
5     provide a further response to this Interrogatory.
6
             9.       For each year from 2013 to the present, describe in detail each measure AT&T
7                    implemented to combat unauthorized SIM swaps
8            RESPONSE: AT&T objects to this Interrogatory as lacking a reasonable temporal limitation.
9    AT&T’s response will therefore be limited to information from the time period of January 1, 2018 to
10   the present. AT&T further objects that the interrogatory is overly broad, vague, and ambiguous with
11   respect to the term “each measure AT&T implemented to combat unauthorized SIM swaps.” AT&T
12   further objects that the phrase “unauthorized SIM swaps” is vague and ambiguous as to whose
13   authorization is at issue or what constitutes authorization. AT&T will construe this phrase to mean SIM
14   swaps that were performed in connection with the telephone numbers of AT&T customers without
15   being authorized by those customers. AT&T further objects to this Interrogatory on the basis that it
16   seeks information protected by the attorney client and/or attorney work product privileges. AT&T
17   further objects to this Interrogatory on the basis that it seeks proprietary, confidential and/or trade secret
18   information. AT&T objects to the term “measure” as vague and ambiguous. AT&T objects to this
19   Interrogatory to the extent it seeks information regarding policies that were not in place when Ross
20   alleges he experienced a SIM swap because such policies are not relevant to this litigation and are not
21   admissible under the Federal Rules of Evidence. AT&T further objects to this Interrogatory to the
22   extent it asks for measures to be identified or segregated by year. AT&T further objects to this
23   Interrogatory to the extent it suggests that AT&T has final authority to implement any measure or
24   policy at vendor call centers.
25           Subject to and without waiving its General and Specific Objections, AT&T responds as follows:
26   AT&T’s investigation into the matters at issue in this case and this Interrogatory is continuing. AT&T
27   reserves the right to supplement, correct, or update this or any response at a later date.
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17          AT&T further states that AT&T states that information regarding AT&T's policies concerning
18   SIM changes, customer verification and account change procedures is located in AT&T' s policy
19   documents on these topics, which AT&T will be producing in response to Mr. Ross’s First Requests
20   for Production, and that the burden of identifying the responsive information in those materials will be
21   substantially the same for Mr. Ross as for AT&T. In addition, AT&T will produce a copy of its privacy
22   policy(ies) and policies designed to protect subscriber confidential information and CPNI in effect
23   during the period of unauthorized SIM changes Mr. Ross alleges in the complaint.
24          21.     State each date that the phone(s) bearing IMEI numbers 359239069326461,
                    354851092905311 and 359407081422499 (which are referenced in the REACT
25
                    Investigation Report involving the SIM SWAP) were involved in an
26                  unauthorized SIM swap.

27            RESPONSE: AT&T objects to this Interrogatory as lacking a reasonable temporal

28    limitation. AT&T’s response will therefore be limited to information from the time period of

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1    January 1, 2018 to the present. AT&T objects to this Interrogatory to the extent it relies on
2    assumptions unsupported by any evidence. AT&T further objects to this Interrogatory as overly
3    broad, unduly burdensome, and not proportional to the needs of this case to the extent it seeks
4    information not relevant to the incidents at issue, including unrelated data about a phone that does
5    not belong to Ross. This Interrogatory would require AT&T to provide information on SIM swaps
6    of other customers, which concern incidents or occurrences that involve entirely different facts and
7    circumstances than any SIM swap at issue in this case. Such information about different customers,
8    incidents, and facts and circumstances has no relevance to or bearing upon the claims or defenses
9    in this case. Because Ross has alleged that AT&T violated its duties to him and his claims will rise
10   or fall based on the evidence concerning his own interactions with AT&T, the burden of identifying,
11   collecting, and reproducing information about IMEIs, if any, that were connected only to other
12   customers’ experiences is not proportional to the needs of the case and would far outweigh any likely
13   benefit of the disclosure of such information in this matter. Moreover, information pertaining to
14   other subscribers may contain information that is protected against disclosure by applicable federal
15   and state law and authorities, including by not limited to the Federal Communications Act, 47
16   U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707, and the Electronic
17   Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. Accordingly, AT&T will limit its
18   response to SIM swaps involving Ross. AT&T objects to this Interrogatory to the extent it seeks
19   information provided by AT&T to any government or law enforcement entity to the extent such
20   Interrogatory is contrary to, or not allowed by, any law or policy. AT&T further objects that the
21   phrase “unauthorized SIM swap” is vague and ambiguous as to whose authorization is at issue or
22   what constitutes authorization. AT&T will construe this phrase to mean SIM swaps that were
23   performed in connection with the telephone numbers of AT&T customers without being authorized
24   by those customers. AT&T’s investigation into the matters at issue in this case and this Interrogatory
25   is continuing. AT&T reserves the right to supplement, correct, or update this or any response at a
26   later date.
27

28         Subject to and without waiving its General and Specific Objections, AT&T states as follows:

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1    Based on its investigation, the phone bearing IMEI number 359239069326461 was involved in an
2    alleged SIM swap of Ross’s phone on October 26, 2018.
3           25.       IDENTIFY each of AT&T’s past and present officers, managers and directors
                      who have held positions with ZENKEY
4

5           RESPONSE: AT&T objects to this Interrogatory as overly broad as to time period. AT&T’s

6    response and production of documents will be limited to information from the time period of January

7    1, 2018 to the present. AT&T objects that information regarding ZenKey is not relevant to this litigation

8    because ZenKey was not used by or available to Ross or any customer at the time of the alleged SIM

9    swap. AT&T further objects that ZenKey is addressed only in the proposed amended complaint, which

10   the Court has not granted Ross leave to file. AT&T further objects that the Interrogatory is unduly

11   burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial

12   information of third parties that AT&T is prohibited from disclosing and that has no bearing on this

13   litigation. AT&T further objects that this Interrogatory is not proportionate to the needs of this case

14   because any tangential relevance Ross could theorize for ZenKey is outweighed by the burden

15   of navigating these complex confidentiality issues. AT&T further objects that Ross can obtain

16   any relevant information regarding ZenKey via public information easily accessible to Ross, including

17   from AT&T’s website. AT&T further objects that AT&T’s intentions regarding the ZenKey App

18   have no relevance to Ross’s claim that his own SIM swap should have or could have been prevented.

19   AT&T’s investigation into the matters at issue in this case and this Interrogatory is continuing. AT&T

20   reserves the right to supplement, correct, or update this or any response at a later date.

21          Based on its General and Specific Objections, AT&T will not further respond to this

22   Interrogatory.

23
                                       REQUESTS FOR PRODUCTION
24
             13.      DOCUMENTS sufficient to show the measures AT&T implemented prior to
25                    October 26, 2018 to combat unauthorized SIM swaps.
26
             RESPONSE: AT&T objects to this Request as overly broad, unduly burdensome, and not
27
      proportional to the needs of this case because it is unlimited as to time. AT&T’s response and
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1    production of documents will therefore be limited to information from the time period of January 1,
2    2018 to October 26, 2018. AT&T objects that this Request is not proportionate to the needs of this
3    case because it seeks documents pertaining to AT&T’s measures, even though the SIM swap that
4    Mr. Ross alleges involves activities by One Touch Direct employees or representatives, not AT&T
5    employees or representatives. AT&T further objects that the phrase “unauthorized SIM swaps” is
6    vague and ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T
7    will construe this phrase to mean SIM swaps that were performed in connection with the telephone
8    numbers of AT&T customers without being authorized by those customers.
9           Subject to and without waiving the foregoing General and Specific Objections, AT&T will
10   produce AT&T policies referencing SIM changes and the prevention of unauthorized access to
11   customer accounts from January 1, 2018 to October 26, 2018, to the extent such documents exist in
12   AT&T’s possession and can be located pursuant to a reasonable search.
13          22.     DOCUMENTS sufficient to show the measures AT&T has implemented since
                    October 26, 2018 to combat unauthorized SIM swaps.
14

15          RESPONSE: AT&T objects that this Request seeks information that is not relevant and not

16   proportionate to the needs of this case because changes to AT&T’s policies after the alleged SIM

17   swap do not bear on any issue in this case and would be inadmissible under the Federal Rules of

18   Evidence. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and ambiguous

19   as to whose authorization is at issue or what constitutes authorization. AT&T will construe this phrase

20   to mean SIM swaps that were performed in connection with the telephone numbers of AT&T

21   customers without being authorized by those customers.

22          Subject to and without waiving the foregoing General and Specific Objections, AT&T will

23   produce responsive, non-privileged documents, to the extent such documents exist in AT&T’s

24   possession and can be located pursuant to a reasonable search.

25          35.     All DOCUMENTS RELATING TO features of the ZenKey App which are
                    intended to combat fraud or theft due to unauthorized SIM swaps.
26
            RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
27
     response and production of documents will be limited to information from the time period of January
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1    1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
2    ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
3    construe this phrase to mean SIM swaps that were performed in connection with the telephone
4    numbers of AT&T customers without being authorized by those customers. AT&T objects to the
5    phrase “which are intended to” as vague and ambiguous with respect to whose intentions are
6    referenced. AT&T objects that documents regarding ZenKey are not relevant to this litigation
7    because ZenKey was not used by or available to Ross or any customer at the time of the alleged SIM
8    swap. AT&T further objects that ZenKey is addressed only in the proposed amended complaint,
9    which the Court has not granted Ross leave to file. AT&T further objects that the Request is unduly
10   burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
11   information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
12   litigation. AT&T further objects that this Request is not proportionate to the needs of this case
13   because any tangential relevance Ross could theorize for ZenKey is outweighed by the burden of
14   navigating these complex confidentiality issues. AT&T further objects that Ross can obtain any
15   relevant information regarding ZenKey via public information easily accessible to Ross, including
16   from AT&T’s website. AT&T further objects that AT&T’s intentions regarding the ZenKey App
17   have no relevance to Ross’s claim that his own SIM swap should have or could have been prevented.
18          AT&T will not produce documents responsive to this Request.
19          36.     DOCUMENTS sufficient to show (i) the investment in ZENKEY by AT&T (or
                    any parent, subsidiary or affiliate), (ii) the IDENTITY of officers, managers,
20
                    directors or employees of AT&T (and its parent, subsidiary and sibling entities)
21                  who have any management role or board seat in ZENKEY, (iii) ZENKEY sales
                    and marketing presentations to financial institutions, and (iv) the detailed
22                  financial projections (including pricing, revenue, and profit) for ZENKEY.

23         RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
24   response and production of documents will be limited to information from the time period of January
25   1, 2018 to the present. AT&T objects that documents regarding ZenKey are not relevant to this
26   litigation because ZenKey was not used by or available to Ross or any customer at the time of the
27   alleged SIM swap. AT&T further objects that ZenKey is addressed only in the proposed amended
28   complaint, which the Court has not granted Ross leave to file. AT&T further objects that the Request

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1    is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
2    financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
3    on this litigation. AT&T further objects that this Request is not proportionate to the needs of this case
4    because any tangential relevance Ross could theorize for ZenKey is outweighed by the burden of
5    navigating these complex confidentiality issues. AT&T further objects that Ross can obtain any
6    relevant information regarding ZenKey via public information easily accessible to Ross, including
7    from AT&T’s website. AT&T further objects that the requested financial information regarding
8    ZenKey has no relevance to Ross’s claim that his own SIM swap should have or could have been
9    prevented.
10          AT&T will not produce documents responsive to this Request.
11          37.     All organization charts detailing the executive management and board of
                    managers (or directors) of ZENKEY.
12

13          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

14   response and production of documents will be limited to information from the time period of January

15   1, 2018 to the present. AT&T objects to this request for documents concerning the organization of

16   an unaffiliated third party as overly broad because it seeks irrelevant materials having no bearing on

17   the claims or defenses in this matter, and the burden of identifying such materials is not proportional

18   to the needs of this case. AT&T further objects to this request as vague and ambiguous with regard

19   to the term “executive management.” AT&T objects that documents regarding ZenKey are not

20   relevant to this litigation because ZenKey was not used by or available to Ross or any customer at

21   the time of the alleged SIM swap. AT&T further objects that ZenKey is addressed only in the

22   proposed amended complaint, which the Court has not granted Ross leave to file. AT&T further

23   objects that the Request is unduly burdensome and invasive of confidential, proprietary, trade secret,

24   and/or sensitive financial information of third parties that AT&T is prohibited from disclosing and

25   that has no bearing on this litigation. AT&T further objects that this Request is not proportionate to

26   the needs of this case because any tangential relevance Ross could theorize for ZenKey is outweighed

27   by the burden of navigating these complex confidentiality issues. AT&T further objects that Ross

28   can obtain any relevant information regarding ZenKey via public information easily accessible to

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1    Ross, including from AT&T’s website. AT&T further objects that the requested information
2    regarding ZenKey has no relevance to Ross’s claim that his own SIM swap should have or could
3    have been prevented.
4           AT&T will not produce documents responsive to this Request.
5           39.     DOCUMENTS sufficient to show the reporting relationship between Johannes
                    Jaskolski & Bill O’Hern from October 2017 to the present.
6

7           RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

8    response and production of documents will be limited to information from the time period of January

9    1, 2018 to the present.

10          Subject to and without waiving the foregoing General and Specific Objections, AT&T will

11   produce documents sufficient to show the current reporting relationship between Johannes Jaskolski

12   and Bill O’Hern.

13          40.     Presentations made by Johannes Jaskolski RELATING TO unauthorized SIM
                    swaps.
14
            RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
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     response and production of documents will be limited to information from the time period of January
16
     1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
17
     ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
18
     construe this phrase to mean SIM swaps that were performed in connection with the telephone
19
     numbers of AT&T customers without being authorized by those customers.
20
            AT&T further objects to this Request to the extent that it seeks documents relating to
21
     ZenKey. Documents relating to ZenKey are not relevant to this litigation because ZenKey was not
22
     used by or available to Ross or any customer at the time of the alleged SIM swap. AT&T further
23
     objects that ZenKey is addressed only in the proposed amended complaint, which the Court has not
24
     granted Ross leave to file. AT&T further objects that to the extent the Request seeks documents
25
     regarding ZenKey, the Request is unduly burdensome and invasive of confidential, proprietary, trade
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     secret, and/or sensitive financial information of third parties that AT&T is prohibited from disclosing
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     and that has no bearing on this litigation. AT&T further objects that this Request is not proportionate
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1    to the needs of this case to the extent it seeks documents regarding ZenKey because any tangential
2    relevance Ross could theorize for ZenKey is outweighed by the burden of navigating these complex
3    confidentiality issues. AT&T further objects that Ross can obtain any relevant information regarding
4    ZenKey via public information easily accessible to Ross, including from AT&T’s website.
5           Subject to and without waiving the foregoing General and Specific Objections, AT&T will
6    produce non-privileged responsive documents, to the extent such documents exist and do not pertain
7    to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
8
            41.     DOCUMENTS RELATING TO AT&T’s COMMUNICATIONS with the
9                   Mobile Authentication Task Force to combat unauthorized SIM swaps,
                    including evaluation, recommendation, approval or rejection of SIM swap
10                  solutions.
11          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s
12   response and production of documents will be limited to information from the time period of January
13   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
14   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
15   construe this phrase to mean SIM swaps that were performed in connection with the telephone
16   numbers of AT&T customers without being authorized by those customers. AT&T objects to this
17   Request to the extent it seeks information regarding the claims and activities of other AT&T
18   customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or
19   occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T
20   further objects to this Request to the extent it seeks documents that contain information about other
21   customers that is protected against disclosure by applicable federal and state law and authorities,
22   including by not limited to the Federal Communications Act, 47 U.S.C. § 222, the Stored
23   Communications Act, 18 U.S.C. § 2707, and the Electronic Communications Privacy Act of 1986,
24   18 U.S.C. §§ 2510 et seq. AT&T further objects to the extent that the Request seeks materials
25   protected by the privacy rights of third party customers.
26         AT&T further objects that documents regarding ZenKey, a product relating to the Mobile
27   Authentication Task Force, are not relevant to this litigation because ZenKey was not used by or
28   available to Ross or any customer at the time of the alleged SIM swap. AT&T objects that the requested

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1    information regarding ZenKey has no relevance to Ross’s claim that his own SIM swap should have
2    or could have been prevented. AT&T further objects that ZenKey is addressed only in the proposed
3    amended complaint, which the Court has not granted Ross leave to file. AT&T further objects that the
4    Request is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
5    financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
6    on this litigation. AT&T further objects that this Request is not proportionate to the needs of this case
7    because any tangential relevance Ross could theorize for ZenKey or other products relating to the
8    Mobile Authentication Task Force is outweighed by the burden of navigating these complex
9    confidentiality issues. AT&T further objects that Ross can obtain any relevant information regarding
10   ZenKey and the Mobile Authentication Task Force via public information easily accessible to Ross,
11   including from AT&T’s website.
12          AT&T will not produce documents responsive to this Request.
13          42.     DOCUMENTS sufficient to show the intention to incorporate Project Halo
                    technology into ZenKey.
14

15          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

16   response and production of documents will be limited to information from the time period of January

17   1, 2018 to the present. AT&T objects to this Request as vague and ambiguous with respect to whose

18   “intention” is referenced in the Request. AT&T objects to the Request to the extent it incorporates

19   an assumption about AT&T’s policies without any evidentiary support. AT&T objects that

20   documents regarding ZenKey are not relevant to this litigation because ZenKey was not used by or

21   available to Ross or any customer at the time of the alleged SIM swap. AT&T further objects that

22   ZenKey is addressed only in the proposed amended complaint, which the Court has not granted Ross

23   leave to file. AT&T further objects that the Request is unduly burdensome and invasive of

24   confidential, proprietary, trade secret, and/or sensitive financial information of third parties that

25   AT&T is prohibited from disclosing and that has no bearing on this litigation. AT&T further objects

26   that this Request is not proportionate to the needs of this case because any tangential relevance Ross

27   could theorize for ZenKey is outweighed by the burden of navigating these complex confidentiality

28   issues. AT&T further objects that Ross can obtain any relevant information regarding ZenKey via

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1    public information easily accessible to Ross, including from AT&T’s website. AT&T further objects
2    that AT&T’s intentions regarding ZenKey and/or Project Halo have no relevance to Ross’s claim that
3    his own SIM swap should have or could have been prevented.
4           AT&T will not produce documents responsive to this Request.
5           44.     COMMUNICATIONS between Johannes Jaskolski and Bill O’Hern
                    RELATING TO unauthorized SIM swaps, including as they relate to ZenKey.
6

7          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

8    response and production of documents will be limited to information from the time period of January
     1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and
9
     ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will
10
     construe this phrase to mean SIM swaps that were performed in connection with the telephone
11
     numbers of AT&T customers without being authorized by those customers. AT&T further objects
12
     that the requested information regarding ZenKey has no relevance to Ross’s claim that his own SIM
13
     swap should have or could have been prevented. AT&T objects to this Request to the extent it seeks
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     information regarding the claims and activities of other AT&T customers, containing the protected
15
     CPNI of other AT&T customers, and/or concerning incidents or occurrences that have no relevance
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     to or bearing upon the claims or defenses in this case. AT&T further objects to this Request because
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     the requested information about other customers is protected against disclosure by applicable federal
18
     and state law and authorities, including by not limited to the Federal Communications Act, 47 U.S.C.
19
     § 222, the Stored Communications Act, 18 U.S.C. § 2707, and the Electronic Communications
20
     Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further objects that the Request seeks materials
21
     protected by the privacy right of third party customers.
22
            AT&T further objects to this Request to the extent that it seeks documents relating to
23
     ZenKey. Documents relating to ZenKey are not relevant to this litigation because ZenKey was not
24
     used by or available to Ross or any customer at the time of the alleged SIM swap. AT&T further
25
     objects that ZenKey is addressed only in the proposed amended complaint, which the Court has not
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     granted Ross leave to file. AT&T further objects that the requested information regarding ZenKey
27
     has no relevance to Ross’s claim that his own SIM swap should have or could have been prevented.
28
     AT&T further objects that to the extent the Request seeks documents regarding ZenKey, the Request
                                                      15
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1    is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
2    financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
3    on this litigation. AT&T further objects that this Request is not proportionate to the needs of this
4    case to the extent it seeks documents regarding ZenKey because any tangential relevance Ross could
5    theorize for ZenKey is outweighed by the burden of navigating these complex confidentiality issues.
6    AT&T further objects that Ross can obtain any relevant information regarding ZenKey via public
7    information easily accessible to Ross, including from AT&T’s website.
8           Subject to and without waiving the foregoing General and Specific Objections, AT&T will
9    produce non-privileged responsive documents, to the extent such documents exist and do not pertain
10   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
11
            45.     Communications between Johannes Jaskolski and GSMA RELATING TO
12                  unauthorized SIM swaps, including as they relate to ZenKey.

13          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

14   response and production of documents will be limited to information from the time period of January

15   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and

16   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will

17   construe this phrase to mean SIM swaps that were performed in connection with the telephone

18   numbers of AT&T customers without being authorized by those customers. AT&T objects to this

19   Request to the extent it seeks information regarding the claims and activities of other AT&T

20   customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or

21   occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T

22   further objects to this Request because the requested information about other customers is protected

23   against disclosure by applicable federal and state law and authorities, including by not limited to the

24   Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707,

25   and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further

26   objects that the Request seeks materials protected by the privacy right of third party customers.

27          AT&T further objects to this Request to the extent that it seeks documents relating to

28   ZenKey. Documents relating to ZenKey are not relevant to this litigation because ZenKey was not

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1    used by or available to Ross or any customer at the time of the alleged SIM swap. AT&T further
2    objects that the requested information regarding ZenKey has no relevance to Ross’s claim that his
3    own SIM swap should have or could have been prevented. AT&T further objects that ZenKey is
4    addressed only in the proposed amended complaint, which the Court has not granted Ross leave to
5    file. AT&T further objects that to the extent the Request seeks documents regarding ZenKey, the
6    Request is unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive
7    financial information of third parties that AT&T is prohibited from disclosing and that has no bearing
8    on this litigation. AT&T further objects that this Request is not proportionate to the needs of this case
9    to the extent it seeks documents regarding ZenKey because any tangential relevance Ross could
10   theorize for ZenKey is outweighed by the burden of navigating these complex confidentiality issues.
11   AT&T further objects that Ross can obtain any relevant information regarding ZenKey via public
12   information easily accessible to Ross, including from AT&T’s website.
13          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
14   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
15   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
16
            46.     Communications between Johannes Jaskolski and any Verizon employees
17                  RELATING TO unauthorized SIM swaps, including as they relate to ZenKey.

18          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

19   response and production of documents will be limited to information from the time period of January

20   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and

21   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will

22   construe this phrase to mean SIM swaps that were performed in connection with the telephone

23   numbers of AT&T customers without being authorized by those customers. AT&T objects to this

24   Request to the extent it seeks information regarding the claims and activities of other AT&T

25   customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or

26   occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T

27   further objects to this Request because the requested information about other customers is protected

28   against disclosure by applicable federal and state law and authorities, including by not limited to the

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1    Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707,
2    and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further
3    objects that the Request seeks materials protected by the privacy right of third party customers and/or
4    by confidentiality interests of Verizon.
5          AT&T further objects to this Request to the extent that it seeks documents relating to ZenKey.
6    Documents relating to ZenKey are not relevant to this litigation because ZenKey was not used by or
7    available to Ross or any customer at the time of the alleged SIM swap. AT&T further objects that
8    the requested information regarding ZenKey has no relevance to Ross’s claim that his own SIM
9    swap should have or could have been prevented. AT&T further objects that ZenKey is addressed
10   only in the proposed amended complaint, which the Court has not granted Ross leave to file. AT&T
11   further objects that to the extent the Request seeks documents regarding ZenKey, the Request is
12   unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
13   information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
14   litigation. AT&T further objects that this Request is not proportionate to the needs of this case to the
15   extent it seeks documents regarding ZenKey because any tangential relevance Ross could theorize
16   for ZenKey is outweighed by the burden of navigating these complex confidentiality issues. AT&T
17   further objects that Ross can obtain any relevant information regarding ZenKey via public
18   information easily accessible to Ross, including from AT&T’s website.
19          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
20   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
21   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
22
            47.     Communications between Johannes Jaskolski and any T-Mobile employees
23                  RELATING TO unauthorized SIM swaps, including as they relate to ZenKey.

24          RESPONSE: AT&T objects to this Request as overly broad as to time period. AT&T’s

25   response and production of documents will be limited to information from the time period of January

26   1, 2018 to the present. AT&T further objects that the phrase “unauthorized SIM swaps” is vague and

27   ambiguous as to whose authorization is at issue or what constitutes authorization. AT&T will

28   construe this phrase to mean SIM swaps that were performed in connection with the telephone

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1    numbers of AT&T customers without being authorized by those customers. AT&T objects to this
2    Request to the extent it seeks information regarding the claims and activities of other AT&T
3    customers, containing the protected CPNI of other AT&T customers, and/or concerning incidents or
4    occurrences that have no relevance to or bearing upon the claims or defenses in this case. AT&T
5    further objects to this Request because the requested information about other customers is protected
6    against disclosure by applicable federal and state law and authorities, including by not limited to the
7    Federal Communications Act, 47 U.S.C. § 222, the Stored Communications Act, 18 U.S.C. § 2707,
8    and the Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510 et seq. AT&T further
9    objects that the Request seeks materials protected by the privacy right of third party customers.
10         AT&T further objects to this Request to the extent that it seeks documents relating to ZenKey.
11   Documents relating to ZenKey are not relevant to this litigation because ZenKey was not used by or
12   available to Ross or any customer at the time of the alleged SIM swap. AT&T further objects that
13   the requested information regarding ZenKey has no relevance to Ross’s claim that his own SIM
14   swap should have or could have been prevented. AT&T further objects that ZenKey is addressed
15   only in the proposed amended complaint, which the Court has not granted Ross leave to file. AT&T
16   further objects that to the extent the Request seeks documents regarding ZenKey, the Request is
17   unduly burdensome and invasive of confidential, proprietary, trade secret, and/or sensitive financial
18   information of third parties that AT&T is prohibited from disclosing and that has no bearing on this
19   litigation. AT&T further objects that this Request is not proportionate to the needs of this case to the
20   extent it seeks documents regarding ZenKey because any tangential relevance Ross could theorize
21   for ZenKey is outweighed by the burden of navigating these complex confidentiality issues. AT&T
22   further objects that Ross can obtain any relevant information regarding ZenKey via public
23   information easily accessible to Ross, including from AT&T’s website.
24          Subject to and without waiving the foregoing General and Specific Objections, AT&T will
25   produce non-privileged responsive documents, to the extent such documents exist and do not pertain
26   to ZenKey, are in AT&T’s possession, and can be located pursuant to a reasonable search.
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